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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    ______________________________________________
    DEMOCRACY PARTNERS, LLC, et al.,             )
                                                 )
             Plaintiffs,                         )
                                                 ) Civ. No. 1:17-cv-1047-PLF
             v.                                  )
                                                 )
    PROJECT VERITAS ACTION FUND, LLC, et al.,    )
                                                 )
             Defendants.                         )
    _____________________________________________)


         PLAINTIFFS’ MEMORANDUM IN RESPONSE TO DEFENDANTS’
        MOTION IN LIMINE TO EXCLUDE PLAINTIFFS’ TRIAL EXHIBIT 121

        Defendants have filed, under seal, a motion in limine (Dkt. No. 128] to preclude Plaintiffs

from introducing their proposed Exhibit 121.        A copy of Plaintiffs’ Exhibit 121 was filed by

Defendants under seal. Dkt. No. 115-1.

        Exhibit 121 is an email from Project Veritas founder and president James O’Keefe to a

recipient with a Project Veritas email address (whose name is redacted), suggesting that Project

Veritas should approach its donors and “ask for their input” as to when Project Veritas should post

certain of its videos, stories, evidently including the one that is the subject of this lawsuit (“on the

subject of Creamer”). O’Keefe goes on to state that, “by giving them [donors] the option of getting

their input you will succeed in your development role.”

        The sole purpose for which Plaintiffs would introduce this document is to show that Project

Veritas is not a legitimate news organization. Real news organizations—whether Fox News, the

New York Times or any other recognized media outlet-- do not go to their donors, or advertisers,

and ask for their “input” on when stories should be run.
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        Since the parties exchanged exhibit lists, the Court issued its Opinion and Order [Dkt. No.

114] (“Opinion & Order”) granting in part and denying in part Defendants’ Motion in Limine to

Exclude Plaintiffs’ Politically-Motivated Efforts to Introduce Irrelevant Evidence [Dkt. No. 100].

Int that Opinion and Order, the Court ruled that Defendants’ “journalistic status” is not a “fact []

of consequence” in this action” for purposes of Fed. R. Evid. 401, and therefore that Plaintiffs are

precluded from introducing evidence “in their case-in-chief for the purpose of establishing that

defendants are not journalists or that Project Veritas is not a newsgathering organization.”

Opinion & Order at 12 (emphasis in original).

        At the same time, the Court ruled that “[i]f defendants at trial make arguments, offer

evidence or elicit testimony concerning their status as ‘investigative journalists,’…engaged in

‘truthful reporting,’ . . . plaintiffs in turn will be entitled to present additional argument, introduce

rebuttal evidence, or cross-examine witnesses on this subject ‘to prevent the jury from forming the

erroneous impression that the proper characterization of [defendants’ journalistic status] is

undisputed.’” ….” Id. at 13 (bracketed material in original)(quoting Griffin v. Washington

Convention Center, 142 F.3d 1308, 1312 (D.C. Cir. 1998)).

        Following the issuance of that Opinion and Order, Plaintiffs filed a Motion in Limine to

Preclude Defendants from Making Any Argument or Introducing Evidence for Purposes of

Asserting a Journalism Defense [Dkt. No. 117]. That Motion is pending before the Court. If the

Court grants that Motion, so that Defendants are precluded from “opening the door” to evidence

of journalistic status or purpose, then Plaintiffs readily acknowledge that they would be similarly

precluded form introducing any evidence for the purpose of establishing that Defendants are not

journalists. In that case, Plaintiffs would withdraw their Exhibit 121 and would stipulate to entry

of an order precluding Plaintiffs from introducing it into evidence.



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        If, on the other hand that Motion is denied in whole or in part such that, for certain

purposes, Defendants may introduce evidence to establish that they were or were acting as

journalists, then Plaintiffs, in turn, should be allowed to introduce evidence to rebut such evidence.

That evidence would include proposed Exhibit 121.

                                              CONCLUSION

       If Defendants are ultimately permitted to introduce evidence for the purpose of establishing

that they were or were acting as journalists, then Defendants’ Motion in Limine to Exclude

Plaintiffs’ Exhibit 121 should denied. If Defendants are ultimately not permitted to introduce any

such evidence, then Plaintiffs will withdraw their Exhibit 121 and will not object to an order

precluding it from being introduced into evidence.

                                               Respectfully submitted,

Dated: November 8, 2021                        _/s/ Joseph E. Sandler
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                                             Attorneys for Plaintiffs




                                     CERTIFICATE OF SERVICE

        I hereby certify that on November 8, 2021, I electronically filed the foregoing Plaintiff’s

Memorandum in Response to Defendants’ Motion in Limine to Exclude Plaintiffs’ Trial Exhibit

121 with the Clerk of Court using the CM/ECF system, which will cause a copy to be served on

all counsel of record. .




                              /s/ Joseph E. Sandler

                              Attorney for Plaintiffs




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